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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  DEL RIO DIVISION

DORA PEREZ                                       §
                                                 §
VS.                                              §                                  2:20-cv-47
                                                                         C.A. NO. _____________
                                                 §
WAL-MART STORES TEXAS, LLC D/B/A                 §
WAL-MART STORES TEXAS 2007, LLC                  §                            JURY DEMANDED

              NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. ' 1441

TO THE CLERK OF THE ABOVE ENTITLED COURT:

       Please take notice that Defendant, Wal-Mart Stores Texas, LLC D/B/A Wal-Mart Stores

Texas 2007, LLC hereby removes to the Court the state action described below.

       1.      On June 23, 2020, a civil action was commenced, in the 293rd Judicial District

Court of Maverick County, Texas, entitled Dora Perez v. Wal-Mart Stores Texas, LLC D/B/A

Wal-Mart Stores Texas 2007, LLC; Cause No. 20-06-38954-MCV. A copy of Plaintiff=s Original

Petition is attached hereto as Exhibit A.

       2.      Service of summons and complaint was made on Defendant, Wal-Mart Stores

Texas, LLC D/B/A Wal-Mart Stores Texas 2007, LLC by certified mail on June 29, 2020.

Defendant, Wal-Mart Stores Texas, LLC D/B/A Wal-Mart Stores Texas 2007, LLC first received

a copy of said Petition on June 30, 2020. A copy of the Citation is attached hereto as Exhibit B.

       3.      Defendant has filed an Original Answer, which is attached as Exhibit C, a Demand

for Jury Trial, which is attached as Exhibit D and a Notice of Filing of Removal to Federal Court,

attached as Exhibit E. Defendant has attached all process, pleadings, and orders in the State

Court action as required by 28 U.S.C. 1446(a).

                                JURISDICTION AND VENUE

       4.      The action is a civil action of which this Court has original jurisdiction under Title

28 U.S.C. ' 1332 (Diversity Jurisdiction), and is one which may be removed to this Court pursuant
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to Title 28 U.S.C. ' 1441. There is complete diversity of citizenship amongst the parties.

Defendant, Wal-Mart Stores Texas, LLC is a limited liability company formed under the laws of

Delaware, with its principal place of business in Arkansas. The sole member of Wal-Mart Stores

Texas, LLC is Wal-Mart Real Estate Business Trust. Wal-Mart Real Estate Business Trust is a

Delaware statutory trust with its principal place of business in Arkansas. The sole unit holder of

Wal-Mart Real Estate Business Trust is Wal-Mart Property Co. which is a wholly owned

subsidiary of Wal-Mart Stores East, LP. Wal-Mart Property Co. is a corporation formed under the

laws of the State of Delaware with its principal place of business in the State of Arkansas.

Wal-Mart Stores East, LP is a Delaware limited partnership, of which WSE Management, LLC is

the general partner, and WSE Investment, LLC is the limited partner. WSE Management, LLC is

a Delaware limited liability company, and has its principal place in Bentonville, Arkansas. WSE

Investment, LLC is a Delaware limited liability company, and has its principal place in

Bentonville, Arkansas. The sole member of WSE Management, LLC and WSE Investment, LLC

is Wal-Mart Stores East, LLC. (f/k/a Wal-Mart Stores East, Inc.), whose parent company is

Walmart Inc. (f/k/a Wal-Mart Stores, Inc.). Wal-Mart Stores East, LLC is a limited liability

company formed under the laws of the State of Arkansas, and has its principal place of business in

the State of Arkansas. The sole member of Wal-Mart Stores East, LLC is Walmart Inc. (f/k/a

Wal-Mart Stores, Inc.). Plaintiff is a Texas citizen, with her residence in Maverick County,

Texas.

         5.    The amount in controversy exceeds the sum of Seventy-five Thousand Dollars

($75,000.00), exclusive of interest and costs. See page 1 of Plaintiff=s Original Petition.

         7.    Venue is proper in the Western District of Texas, Del Rio Division because this

District and Division embrace the place in which the action is pending.

                                              Dated: July 29, 2020

                                              Respectfully submitted,
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                                           Daw & Ray
                                           A Limited Liability Partnership

                                             /s/ Willie Ben Daw, III
                                           Willie Ben Daw, III; TBN: 05594050
                                           Email: wbdaw@dawray.com
                                           James K. Floyd; TBN: 24047626
                                           Email: jfloyd@dawray.com
                                           14100 San Pedro Ave., Suite 302
                                           San Antonio, Texas 78232
                                           (210) 224-3121 Telephone
                                           (210) 224-3188 Facsimile

                                           ATTORNEYS FOR DEFENDANT




                              CERTIFICATE OF SERVICE

        The undersigned does hereby certify that a true and correct copy of the above and
foregoing instrument has been served upon all known counsel of record by electronic service on
this the 29th day of July, 2020.

Alberto Rodriguez                                 Email: arodriguez@oscargarzalaw.com
The Law Firm of Oscar A. Garza
545 Quarry Street
Eagle Pass, Texas 78852


                                            /s/ Willie Ben Daw, III
                                           Willie Ben Daw, III
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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                DEL RIO DIVISION

DORA PEREZ                                   §
                                             §
VS.                                          §              C.A. NO. _____________
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WAL-MART STORES TEXAS, LLC D/B/A             §
WAL-MART STORES TEXAS 2007, LLC              §                  JURY DEMANDED

            INDEX OF DOCUMENTS FILED WITH REMOVAL ACTION


      (A)    Plaintiff=s Original Petition

      (B)    Citation

      (C)    Defendant’s Original Answer

      (D)    Defendant’s Demand for Jury Trial

      (E)    Notice of Filing of Removal to Federal Court

      (F)    List of Counsel of Record
